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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 PERFECT CORP.,

                Plaintiff,                            Case No. 6:22-cv-1164

 v.                                                   JURY TRIAL DEMANDED

 LENNON IMAGE TECHNOLOGIES, LLC,

              Defendant.



                    COMPLAINT FOR DECLARATORY JUDGMENT


       Plaintiff Perfect Corp. (“Plaintiff” or “Perfect”) hereby files this Complaint against Lennon

Image Technologies, LLC (“Defendant” or “Lennon”) for Declaratory Judgment of non-

infringement and invalidity of U.S. Patent No. 6,624,843 (“the ’843 Patent”) owned by Defendant

Lennon. A copy of the ’843 Patent is attached as Exhibit A.


                                         THE PARTIES


       1.     Plaintiff Perfect is a California corporation organized and existing under the laws

of the State of California with its principal place of business at 3031 Tisch Way, 110 Plaza West

in San Jose, CA 95128.

       2.     Defendant Lennon is a Texas limited Liability Company organized and existing

under the laws of Texas, with a place of business at 1910 East Southeast Loop 323, #244, Tyler

Texas 75701. See Exhibit B, 12/24/2021 Complaint for Patent Infringement.




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        3.       According to Texas Secretary of State filings, Lennon’s registered agent in Texas

is InCorp Services, Inc. with a listed address in this district at 815 Brazos St., Ste. 500 in Austin,

TX 78701.


                                  JURISDICTION AND VENUE


        4.       This action arises under the Declaratory Judgment Act, 28 U.S.C. § 2201 and 2202,

and the provisions of the Patent Laws of the United States of America, Title 35 of the United States

Code, § 100, et seq., due to Defendant’s assertion of infringement of the ’843 Patent against Perfect

and Perfect’s customers.

        5.       This Court has subject matter jurisdiction over the claims is conferred upon this

Court by 28 U.S.C. § 2201 and 2202 (declaratory judgment), 28 U.S.C. § 1331 (federal question

jurisdiction), 28 U.S.C. § 1338(a) (patent jurisdiction), and 28 § U.S.C. 1332 (diversity

jurisdiction).

        6.       This Court has general personal jurisdiction over Defendant Lennon because

Lennon is incorporated in and has a place of business in Texas.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) at least because a

substantial amount of the events which give rise to the requested remedy have occurred in this

district. Defendant Lennon has sued Plaintiff’s customer in this district based on the technology

provided to Plaintiff’s customer by Plaintiff.

        8.       Jurisdiction and Venue in this district are also proper because Defendant Lennon

has submitted to this Court’s jurisdiction by currently asserting the ’843 Patent in this district in

two cases. See Lennon Image Technologies, LLC v. Chanel, Inc. 6-21-cv-01227 (WDTX); Lennon

Image Technologies, LLC v. Gucci America, Inc. et al 6-21-cv-01311 (WDTX). The Chanel case

involving the ’843 Patent is currently pending before Judge Albright in Waco.


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                     EXISTENCE OF AN ACTUAL CONTROVERSY


       9.      There is an actual controversy within the jurisdiction of this Court under 28 U.S.C.

§§ 2201 and 2202.

       10.     Defendant Lennon is a patent assertion entity formed for the sole purpose of

generating revenue by asserting the ’843 Patent against other companies’ products. Defendant has

sued at least 24 companies for alleged infringement of the ’843 Patent:

      Lennon Image Technologies, LLC v. Gucci America, Inc. et al 6-21-cv-01311 (WDTX)

      Lennon Image Technologies, LLC v. Chanel, Inc. 6-21-cv-01227 (WDTX)

      Lennon Image Technologies, LLC v. Coty Inc. 1-17-cv-09146 (SDNY)

      Lennon Image Technologies, LLC v. Mary Kay Inc. 3-15-cv-00551 (NDTX)

      Lennon Image Technologies, LLC v. Shiseido Americas Corporation 2-21-cv-00093

       (EDTX)

      Lennon Image Technologies, LLC v. Kendra Scott, LLC 2-21-cv-00069 (EDTX)

      Lennon Image Technologies, LLC v. Target Corporation 2-20-cv-00362 (EDTX)

      Lennon Image Technologies, LLC v. Ulta Beauty, Inc. 2-20-cv-00249 (EDTX)

      Lennon Image Technologies, LLC v. JAND, Inc. d/b/a Warby Parker 2-20-cv-00223

       (EDTX)

      Lennon Image Technologies, LLC v. The Estee Lauder Companies, Inc. et al 2-20-cv-

       00212 (EDTX)

      Lennon Image Technologies, LLC v. Coty Inc. 2-17-cv-00385 (EDTX)




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      Lennon Image Technologies, LLC v. Sephora USA, Inc. 2-16-cv-00411 (EDTX)

      Lennon Image Technologies, LLC v. L’Oreal USA, Inc. 2-15-cv-01416 (EDTX)

      Lennon Image Technologies, LLC v. Tacori Enterprises 2-13-cv-00241 (EDTX)

      Lennon Image Technologies, LLC v. Safilo America, Inc. et al 2-13-cv-00240 (EDTX)

      Lennon Image Technologies, LLC v. Luxottica Retail North America Inc. et al 2-13-cv-

       00239 (EDTX)

      Lennon Image Technologies, LLC v. Lumondi Inc. 2-13-cv-00238 (EDTX)

      Lennon Image Technologies, LLC v. Fraimz LLC 2-13-cv-00237 (EDTX)

      Lennon Image Technologies, LLC v. Ditto Technologies, Inc. 2-13-cv-00236 (EDTX)

      Lennon Image Technologies, LLC v. Macy’s, Inc. et al 2-13-cv-00235 (EDTX)

      Lennon Image Technologies LLC v. Conde Nast Publications Inc. et al 1-12-cv-00905

       (DDE)

      Lennon Image Technologies LLC v. Forevermark US Inc. 1-12-cv-00904 (DDE)

      Lennon Image Technologies LLC v. Skullcandy Inc. 1-12-cv-00903 (DDE)

      Lennon Image Technologies LLC v. Tissot USA Inc. et al 1-12-cv-00902 (DDE)

      Lennon Image Technologies LLC v. Mattel Inc. 1-12-cv-00901 (DDE)

      Lennon Image Technologies LLC v. Boucheron Joaillerie USA Inc. 1-12-cv-00900

       (DDE)

       11.     Several of the companies sued by Defendant Lennon are Plaintiff Perfect’s

customers including The Estee Lauder Companies, Inc. (“Estee Lauder”) and Target Corporation


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(“Target”), while other companies such as Chanel, Inc. (“Chanel”) are customers of Perfect’s

affiliated companies.

       12.     These customers licensed Plaintiff Perfect’s YouCam / virtual try-on Product

(“Plaintiff Perfect’s Product”) and integrated it into their websites.

       13.     Defendant Lennon has sued Estee Lauder, Target, and Chanel alleging

infringement of the ’843 Patent based on their use of Plaintiff Perfect’s Product on their websites.

Defendant Lennon’s infringement allegations accused the functionality provided by Plaintiff

Perfect of infringing and included screenshots of Plaintiff Perfect’s Product. A copy of each of the

complaints which includes Lennon’s infringement allegations against Estee Lauder, Target, and

Chanel are attached as Exhibits B, C, and D.

       14.     As part of the Plaintiff Perfect’s license agreement with its customers, Plaintiff

Perfect agreed to indemnify these parties against allegations of patent infringement directed to

their use of Plaintiff Perfect’s Product.

       15.     As a result of Defendant Lennon’s allegations, Estee Lauder, Target, and Chanel

requested defense and indemnification under their license agreements and Plaintiff Perfect and its

affiliated companies agreed to defend and indemnify its customers pursuant to the terms of those

agreements.

       16.     After Defendant Lennon sued Estee Lauder and Target, Plaintiff Perfect and

Defendant Lennon held discussions to resolve Lennon’s threats and allegations against Perfect’s

customers, with Lennon refusing to license or otherwise resolve outstanding issues with Perfect.

Thereafter, Defendant Lennon sued Chanel, confirming that Defendant Lennon will continue to

sue companies using Perfect’s Product.

       17.     Defendant Lennon’s infringement allegations against Estee Lauder, Target, and




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Chanel are read by Plaintiff Perfect to allege that it is Plaintiff Perfect’s Product that Defendant

Lennon contends infringes the ’843 Patent and that Plaintiff Perfect is at least inducing and

contributing to the infringement of the ’843 Patent by its customers.

        18.     Defendant Lennon confirmed this belief in a filing to the Patent Trial and Appeals

Board (“PTAB”) when it stated that Plaintiff Perfect was required to indemnify and defend

Plaintiff Perfect’s customer because Defendant Lennon had sued Plaintiff Perfect’s customer based

on the product provided by Plaintiff Perfect.         Exhibit E, Perfect Corp. v. Lennon Image

Technologies, LLC, IPR2022-00124, Paper 15, Redacted Patent Owner’s Preliminary Response.

        19.     As a result of these statements and continued filing of lawsuits against Plaintiff

Perfect’s customers, Plaintiff Perfect reasonably apprehends that Defendant Lennon will directly

accuse Plaintiff Perfect of infringing the ’843 Patent or accuse other customers of Plaintiff Perfect

of infringing the ’843 Patent.

        20.     Plaintiff Perfect has incurred actual damages as a result of Defendant Lennon’s

allegations at least because Plaintiff Perfect has had to pay for the defense of its customers sued

by Defendant Lennon. Moreover, Perfect continues to be harmed based on Lennon’s previous

threats against Perfect and its additional customers that Lennon has not yet sued.

        21.     Defendant Lennon’s actions therefore create an immediate, actual, and substantial

controversy between Defendant Lennon and Plaintiff Perfect.


                                             COUNT I

                             (Non-Infringement of the ’843 Patent)


        22.     Plaintiff Perfect incorporates by reference all the above paragraphs, as if set forth

fully herein.




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       23.     Plaintiff Perfect’s Product did not and does not infringe, whether literally or under

the doctrine of equivalents, any valid and enforceable claim of the ’843 Patent.

       24.     For example, all of the claims of the ’843 Patent require an “apparel style image”

and Plaintiff Perfect’s Product does not have an “apparel style image.” Further, all of the claims

require a “composite image” that is composed of the “customer image” and “apparel style image.”

Plaintiff Perfect’s Product does not have an “apparel style image” and it therefore cannot meet

either the “apparel style image” or “composite image” limitations.

       25.     Accordingly, for at least the above reasons, Plaintiff Perfect’s Product did not and

does not infringe any claim of the ’843 Patent, either literally or under the doctrine of equivalents.

       26.     Further, since there is no direct infringement, Plaintiff Perfect did not and does not

contribute to or induce infringement or otherwise indirectly infringe the ’843 Patent, either literally

or under the doctrine of equivalents.

       27.     As set forth above, an actual controversy exists between Plaintiff Perfect and

Defendant Lennon with respect to alleged infringement of the ’843 Patent, and this controversy is

ongoing and continuing.

       28.     Pursuant to at least 28 U.S.C. §§ 2201 and 2202, a judicial determination of the

respective rights of the parties with respect to Plaintiff Perfect’s non-infringement of the ’843

Patent is necessary and appropriate.

       29.     Plaintiff Perfect seeks, and is entitled to, a declaration from the Court that Plaintiff

Perfect has not and does not infringe any valid and enforceable claim of the ’843 patent, either

directly or indirectly, contributorily or by inducement, literally or under the doctrine of

equivalents, or in any manner whatsoever.




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                                            COUNT II

                      (Invalidity of the ’843 Patent Under 35 U.S.C. § 101)


        30.     Plaintiff Perfect incorporates by reference all the above paragraphs, as if set forth

fully herein.

        31.      All of the claims of the ’843 patent are invalid under 35 U.S.C. § 101 because they

are directed to the patent-ineligible subject matter of “try before you buy.” There is no concrete or

tangible form to the claimed invention of the ’843 patent. Instead, the claims are directed to one

of the most basic and common activities of trying something on before purchase.

        32.     Plaintiff Perfect seeks, and is entitled to, a declaration from the Court that each

claim of the ’843 patent is invalid under 35 U.S.C. § 101 because they are directed to patent-

ineligible subject matter.


                                            COUNT III

                (Invalidity of the ’843 Patent Under 35 U.S.C. §§ 102 and/or 103)


        33.     Plaintiff Perfect incorporates by reference all the above paragraphs, as if set forth

fully herein.

        34.      As a non-limiting example, the claims of the ’843 Patent are invalid under the

patent, printed publication, prior public use, and/or on-sale bars of 35 U.S.C. § 102; and/or

rendered obvious under the patent, printed publication, prior public use, and/or on-sale bars under

35 U.S.C. § 103.




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                                              COUNT IV

                 (Invalidity of the ’843 Patent Under pre-AIA 35 U.S.C. § 112)


         35.    Plaintiff Perfect incorporates by reference all the above paragraphs, as if set forth

fully herein.

         36.     As a non-limiting example, the claims of the ’843 Patent are invalid for lacking

enablement or written description under pre-AIA 35 U.S.C. § 112, ¶ 1.


                                      PRAYER FOR RELIEF


           WHEREFORE, Plaintiff Perfect respectfully requests the following relief:

         A.     That the Court enter a judgment declaring that Plaintiff Perfect has not infringed

and is not infringing, either directly or indirectly, any claim of the ’843 Patent;

         B.     That the Court enter a judgment declaring that all the claims of the ’843 Patent are

invalid;

         C.     That the Court enter an injunction restraining Defendant Lennon and each of its

officers, directors, agents, counsel, servants, employees, and all of persons in active concert or

participation with any of them, from alleging, representing, or otherwise stating that Plaintiff

Perfect (including its affiliates) infringes any claims of the ’843 Patent and from instituting or

initiating any action or proceeding alleging infringement of any claims of the ’843 Patent against

Plaintiff Perfect (including its affiliates) or any customers, manufacturers, users, importers, or

sellers of Plaintiff Perfect’s (including its affiliates) products;

         D.     That the Court declare Plaintiff Perfect to be the prevailing party and this case to

be exceptional, and award Plaintiff Perfect their reasonable attorneys’ fees pursuant to 35 U.S.C.

§ 285;



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       E.        That the Court order Defendant Lennon to pay all fees, expenses, and costs

associated with this action; and

       F.        That the Court award Plaintiff Perfect any further relief as this Court deems just

and proper under the circumstances.


                                   DEMAND FOR JURY TRIAL

            Plaintiff Perfect demands a jury trial for any and all causes of action.


Dated: November 10, 2022                      Respectfully submitted,

                                              PERKINS COIE LLP



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